Case 1:21-cr-00526-TSC Document 59 Filed 03/30/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
*
* Case No: 1:21-cr-00526-TSC-1

Vv. "
*
*
JEFFERY FINLEY, *
Defendant. *

00000

ORDER

Upon consideration of the Unopposed Motion for an Extension of Time for Mr.
Finley to report to the federal institution, good cause having been shown, it is
3S day of March, 2023, by the United States District Court fo the
District of Columbia,
ORDERED:
1. that the Motion is hereby GRANTED; and
2. that the United States Marshal shall inform the Bureau of Prisons that Mr.

Finley shall not be required to report to the Bureau of Prison until April 5, 2023.

Loz lb—

HONOSABLE TANYA S. CHUTKAN

United States District Judge
